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                                                                 , targeted for termination




                    DAVID A. ROSENFELD

                       WEINBERG, ROGER & ROSENFELD

                     1375 55TH STREET

                             EMERYVILLE, CA 94608




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Because of the nature of the work environment at Blizzard, Ms. Gonzales spoke up and
encouraged the adoption of Diversity, Equity and Inclusion (DEI) initiatives to create positive
change and to foster a better work environment. As a result, she was heckled by her male co-
workers, stalked on Twitter (at the encouragement of one manager), received unwelcome text
messages, and was targeted for termination by another manager. The day-to-day working
environment became so hostile that she had no choice but to quit.




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                  DAVID A. ROSENFELD


                                   ATTORNEY


                         EMERYVILLE, CA




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